                      UNITED STATES DISTRICT COURT
                                  .                .
               FOR THE EASTERN DISTRICT OF, NORTH CAROLINA
                           · WESTERN DIVISION

                             NO.

 UNITED STATES OF AMERICA,                )
                                          )
             v.                           )              INDICTMENT
                                          )
 ALFRED LAMONT CROWDER                    )


      The Grand Jury charges that:

                                     COUNT ONE

      At all times material to this Count,                   Golden 5,        a/k/a B!B

 Sweepstakes,     located at 3132 Calvary Drive,               Unit    107,    Raleigh,

·No~th Carolina, · was eng:aged in ~ commercial retail ·business in

                             '
 interstate and·foreign' commerce and was .an industry which .affects

 interstate anq f?reign commerce.

      On or about June 4,          2916 ,· in the Eastern District of North

 Carolina,    ALFRED      LAMONT    CROWDER,       the    ~efendant     herein,     did

 unlawfully obstruct, delay, ·and affect, and attempt to obstruct,· ·

. delay and affect, .commerce, as ·that term -is defined in Title 18,

. United States ·code, Section 1951, and the              m~vement    of articles and

 cqmmodities      in   such - commerce,       by robbery,.    that    is,   _'unlawfully

 taking and obtaining personal property fro~ the person and in the

 pre13ence of another, against that pe;r:-son' ·s will, by means of act1:1al.

·and t.hreatened forc-e, af'.l set f~rth ip Title 18, United States Code,

 Section l-951 (b) .(1), of Golden. 5; a/k/a BIB Sweepstakes, located at


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 3132   Calvary Drive,       Unit 107,         Raleigh,          North Carolina,      a.11   in

., violation of Title 1-8, United "States Code,·                  ~ecti"on,   1951.

                                         COUNT TWO.
                                   1                 .             .
        O~    or.about- June 4,        2016,   in the Eastern District of North

 Carolin.a, _ALFRED LAMONT CROWDER,. the defendant· herein, during and                            r


 ·in rela~ion to crime of violence .for which he.may be prosecuted                           in
 a court of the Uni_ted Sta:tes, _that is, interference of commerce by

 robbe~y      of Golden 5, a/k/a BIB Sweepstakes,                lo~ated      at 3132 Calvary

 Drive, Unit J,.07 ,_ Raleigh, North Car9lina,                    in viqla.tion of Title
                                                                               '
 18, United States· code, Section .1951,                 as charged in Count One of
                                                         I . -

 the Indictment, did use and carry a firearm, and .did possess said ..

 firearm in furtherance of said crime of violence, and said firearm

·was brandished, all .. in       vio~ation         of Title 18, United States Code,

 Section 924 (c) (1) (A) (ii).

                                        COUNT THREE

        From at least as.early as.June 4, 2016, through or about June

 7,   2017,    in the Eastern District of North Carolina, ALFRED LAMONT

 CROWDER,      the defendant herein,           having been convicted of a· crime

 PUI?-ishable by· inipris_onment for ·a term exceeding one (1) year, did

 knowingly      possess,    in    and     affecting       commerce,           ammunition,    in

 violation of Title 18, United State·s Code, Sections 922 (g) (1) and

 924.




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                                         FORFEITURE NOTICE

      .,The defendant is given notice of the prov~sion:::i of Title 18, United

. States Code, Section 924 (d) (1) and Title 18, United States ·Code,. Section

. 981(a) (l) (C), both as made applicable hereto by Tjtle 28, U~ited -States

.. CC?de, Section 2461, that all of his interest in all property ,specified

 herein is subject.t9 forf~iture.

       As a result of the foregoing offense in Count One of the_ Indictment,

 the defendant sha+l forfeit to th~ United· St.ates any and all property

 c~nstituting,         or derived· from,        any proceeds the. defenqants obtained

 directly or indirectly as              a   result of the said offense.        Such proceeds

 include       ~pproximately          $378.00    in    stolen     and   recovered. cash· ·and

 unrec~ver~d     gross proceeds in the.amount of approximately$ 20,200.

       As a result ·of the foregoing offenses in colints· Two and Three of

·the Indictment, the.defendant sh&ll forfeit to the United States                    a~y   and

 all firearms and ammunition involved .in or used in any knowing violation

 of   these     offenses,     antj.    all    c;i.ssociat'ed   ammunition.    Such property

 includes, but is not limited to, -two boxes of 9mm_ammunition.

        If any    o~   the above-described forfeitable property, as a result of

 any act or omission of the defendant:

        (~)     Cannot be ·located upon the exercise of due diligence;

        (b)    "Has. been transferred or sold to, or 'deposited with a third

                person;

        (c)    ·Has been placed beyond the jurisdiction.of the Court;

        (.d)    Has ·been substantially diminished in value; ·or

        (e)     Has been · commingled with. other property, ·· which cannot be

                subdivided without difficulty;

                                                   3
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it is the intent of the United States to seek forfeiture of any 9ther

property· of   the   defendan~   up   to    the .value   of    the   above-described

forfeitable.property, pursuant to      2~   U.S.C.   Sec~ion   853(p).



                                             A TRUE BILL!


                                                          ORE PERSON
                                                          IO    ~ ;;2_ v~ I   7
                                                          DATE

ROBERT.J .. HIGDON, JR.
  . d St~tes
Unite      r'
                Attorney




. B~: paniel p·. Bubar
  Assistant United States Attorney·




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